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                         IN THE UNITED STATES DISTRICT COURT

                   FOR THE DISTRICT OF UTAH, CENTRAL DIVISION



 CRIMINAL PRODUCTIONS, INC.,
                                                    DECLARATION (SUPPLEMENTAL)
                Plaintiff,                          OF ATTORNEY LISA L. CLAY -
                                                    EXHIBITS
 vs.

 DOES 1–32,                                         Civil No. 2:17-cv-00550

                Defendants.                         Judge Dee Benson


       Please find attached Exhibits 1 through 4 to the Declaration (Supplemental) of Attorney

Lisa L. Clay in support of Motion for Attorneys’ Fees. [Dkt. No. 65].

       DATED this 27th day of August 2018.

                                            HOOLE & KING, L.C.

                                            /s/ Gregory N. Hoole
                                            Gregory N. Hoole
                                            Attorneys for Defendant Darren Brinkley
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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 27th day of August 2018, a true and correct copy of the

foregoing document was filed electronically with the Court using the CM/ECF system, which

sent notice of the same via email to all CM/ECF participants who have appeared in this case.


                                             /s/ Gregory N. Hoole




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